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UNITED STATES BANKRUPTCY COURT, SOUTHERN I)ISTRICT OF FLORIDA

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CHAPTER 13 PLAN §!ndividual Adjustmgnt of Debts)

 

 

 

 

 

g Original Plan
\:] Second Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
E Modified Plan (Indicate lst, an, etc. Modit`ied, if applicable)
DEBTOR: Davin S. Riedinger JOINT DBBTOR: CASE NO.: 17-16961-PGH
SS#: xxx-xx- §24_ SS#: xxx-xx- `
I- EO_TIQLS_
To Debtors: Plans that do not comply With local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015~1(}3)(2), and 3015-2. Debtor(s) must commence plan payments Within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a _

partial payment or no payment at all to the secured creditor m lncluded |:l NOL mcluded

Avoidance‘of a judicial lien or nonpossessory, nonpurchase-money security interest, set |:| lncluded |E Not included

out in Secti on III

Nonstandard provisions, set out in Scction VIII :] Included |_i_| Not included
II. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S]' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount Will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $12901.56 for months l to 60 ;
B- DEBT()R§S]' ATTORNEY'S FEE: m NONE E:I PRO BONO
Total Fees: _ $3 500.00 - Total Paid: $1000.00 Balance Due: $2500.00
Payable $250.00 /'month (Montlis l to£ )

Allowed fees under LR 2016-1(B)(2) are itemized below:

Appiications for compensation must be filed for all fees over and above the Court’s Guidelines for Compensation.

 

 

III. TREATMEET OF SECURE!! CLAIMS
A. §ECURED CLAIMS: ij NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)fl_.ien on Real or Personal Property:

1- Cl'€diu)l"- Rushrnorc Loan Management Serviccs, LLC

 

Addl`€SSI P.O- BOX 55004 Arrearage/ Payoff on Petition Date $34,591.20
lwme’ CA 92619'2708 Arrears Payment (Cure) $557.19 /inonth (Months l to£m )
Last 4 Digits Of Arrears Payment (Cure) $807.19 /irionth (Months ll to _¢_15_ )
Acwunt NO-: 2305 Aaears raymth (cure) $767.65 month (Monihs 4a io_ )
[Select Paymcnt Type] $921.50 /rnontli (Months 1 to _60_ )

Other:

 

 

 

 

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l'V.

VI.

VII.

VlII.

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Debtcr(s): Davin S. Riedinger Case number: 17-1696l-PGH

 

 

l:l Real Property
i:l?rincipal Residence

[:lOther Real Property

Address of Collateral;
1072 Persian Lane, Sebastian, Fl_. 32958

l:| Personal PropertyfVel'iicle

 

Description of Collateral:

Check one below for Real Property:
l:iEscrow is included in the regular payments

|:\The debtor(s) will pay l:|taxes |:linsurance directly

 

 

B. VALUATION OF COLLATERAL: § NONE

 

TREA ! MENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(3.)(4)]
A. ADMINISTRATIVE FF..ES OTHER THAN DEBTORS(SY ATTORNEY'S FEE: E] NONE

B. INTERNAL REVENUE SERVICE: §§ NONE

C. DOMESTIC SUPPORT OBLIGATION§Si: § NONE

 

i). oTHER= [II;NONE

TREATMENT QF UNSECURED NONPRIORITY CREDITOB§
A. Pay 539.54 /moiith (Months 46 to_rp )

Pay $807.19 /month(i\/Iont.hs 47 to m§0_ )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. m If` checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: § NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority creditors

pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in

 

this section shall not receive a distribution from the Chapter 13 Trustee.

§§ NoNE

INCOME TAX RETURNS AND REFUNDS: ij NONE

ij Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521 .

[:] The debtor(s_`) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f`) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

§§ chtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

NON-STANDARD PLAN PROVI§!ONS § NONE l

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Debtor(s): Davin S. Riediriger
PROPERTY OF TI~IE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perj ury_

 

 

 

/s/Sean M. Murray, Atty for Debtor Debtor 11/19/2()17 Joint Debtor
Davin S. Riedinger Date Date
Sean M. Murray, Esq. 11/19!2017
Attorney with permission to sign on Date
Debtor(s)' behalf
if not represented by counsel, certifies that the wording and

By filing this document, the Attorney for Debtor(s) or Debtor(s),
order of the provisions in this Chapter 13 plan are identical to those contained in bocal Form Chapter 13 Plan and the plan

contains no nonstandard provisions other than those set out in paragraph VIII.

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